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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

VICKI TIMPA et al.,                         §
                                            §
                    Plaintiffs,             §
                                            §
                                            §
JOE TIMPA,                                  §
                                            §   Civil Action No. 3:16-CV-3089-N
                    Intervenor-Plaintiff,   §
                                            §
v.                                          §
                                            §
DUSTIN DILLARD et al.,                      §
                                            §
                    Defendants.             §

______________________________________________________________________________

                         DEFENDANTS’ WITNESS LIST
______________________________________________________________________________

TO THE HONORABLE COURT:

        Defendants, Dustin Dillard, Raymond Dominguez, Kevin Mansell, and Danny Vasquez,

pursuant to Local Civil Rule LR 26.2 and the Court’s Fourth Amended Scheduling Order (ECF

No. 225), file their witness list.




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                                                Respectfully submitted,

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                                                Attorneys for Defendants Dustin Dillard,
                                                Raymond Dominguez, Kevin Mansell,
                                                and Danny Vasquez



                                      CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2023, I electronically filed the foregoing with the clerk
of court for the U.S. District Court, Northern District of Texas, using the CM/ECF system which
will notify all case participants registered for electronic notice of this filing. I further certify that
to the extent applicable I have served all case participants not registered for electronic notice by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                s/ Lindsay Wilson Gowin
                                                Senior Assistant City Attorney




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                              DEFENDANTS’ WITNESS LIST

1.      Witness:              Dr. Jeffrey J. Barnard, M.D.
        Deposed:              Yes
        Testimony:            Expert; probable
        Direct Examination:   1.0 hours

        Dr. Jeffrey Barnard, M.D. is a clinical pathologist who serves as director and Chief
        Medical Examiner of the Office of the Dallas County Medical Examiner. Dr. Barnard
        will testify that he and his staff reviewed Dr. Ogden’s Autopsy Report and concurred
        with Dr. Ogden’s observations and findings and conclusions that there was no evidence
        indicating that Timpa’s death was caused by mechanical asphyxia, or that he was unable
        to sufficiently breathe while being restrained by Dillard.

2.      Witness:              Dr. Steven B. Bird, M.D.
        Deposed:              Yes
        Testimony:            Expert; probable
        Direct Examination:   1.5 hours

        Dr. Steven Bird is a retained expert witness who will provide testimony concerning his
        training and experience as a physician who is board certified in emergency medicine and
        medical toxicology. Dr. Bird will provide expert opinion testimony on current knowledge
        and research regarding excited delirium, cocaine toxicity, symptoms associated with
        schizophrenia, the cause(s) of Mr. Timpa’s death, the findings and conclusions of Dr.
        Emily Ogden, and the findings and conclusions of Dr. Kim Collins.

     3. Witness:              Curtis Burnley
        Deposed:              Yes
        Testimony:            Probable
        Direct Examination:   .5 hours

        Curtis Burnley (Burnley) is a Dallas Fire-Rescue Department (DF-R) paramedic who
        responded to the scene. He will testify about (1) his training and experience as a DF-R
        paramedic; (2) his involvement with Anthony Timpa (Timpa); (3) his recollection of the
        events and observations of the encounter between Timpa and Defendants; and (4) his
        interactions with DPD and DF-R personnel.

        Burnley will testify that on August 10, 2016, he along with DF-R paramedic James Flores
        (Flores) responded to a call on West Mockingbird Lane regarding a person requiring
        medical assistance. Upon arrival, Flores observed Timpa in handcuffs, lying on the
        ground, yelling, and screaming incoherently. Burnley and Flores attempted to assess
        Timpa’s condition but Timpa would not stop moving and wriggled his body in a manner
        that made it difficult for them to do so. Because of Timpa’s erratic behavior, Dallas
        police officers physically seized Timpa to prevent him from entering the roadway.
        Although Timpa continued to thrash, one of the paramedics succeeded in taking Timpa’s
        vital signs, which were within normal range. At no time did Burnley perceive that Timpa
        was in medical distress or that he was being deprived of oxygen. Timpa yelled, screamed,

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    and wriggled for several minutes, and then suddenly became still. One of the paramedics
    injected Timpa with a sedative, but he did not respond. Timpa was placed on a gurney
    and into the ambulance, where CPR chest compressions were performed. DF-R personnel
    transported Timpa to Parkland Hospital where he was pronounced deceased shortly after
    arrival.

    Burnley will testify that at no time during the encounter did Timpa say he could not
    breathe nor did Burnley perceive that Timpa could not breathe, that he was struggling to
    breathe, or that Timpa was in a state of medical distress. Based on the facts and
    circumstances known to him, Burnley believed it was reasonable for Dallas police
    officers to physically seize Timpa to prevent him from harming himself and others and to
    allow the paramedics to render him aid.

 4. Witness:              Dustin Dillard
    Deposed:              Yes
    Testimony:            Probable
    Direct Examination:   2.0 hours

    Dustin Dillard (Dillard) is a named defendant and was, at all relevant times, a police
    officer for the Dallas Police Department (DPD). He will testify about (1) his training and
    experience as a certified peace officer for the State of Texas and as a Dallas police
    officer; (2) his knowledge of DPD’s general orders directives concerning the use of force
    and control techniques in police incidents; (3) his recollection of the events surrounding
    his encounter with Timpa; (4) the facts and information provided to him by DPD
    personnel and persons at or near the scene of the encounter; (5) his observations of Timpa
    at the scene, including his perception of Timpa’s physical appearance, actions, and
    demeanor; (6) the control techniques he used in response to Timpa’s unlawful resistance
    and noncompliance to the officers’ verbal commands; (7) his knowledge of the standards
    and requirements under the Fourth Amendment to the United States Constitution for
    seizure and use of force; (8) his opinions concerning whether the physical control
    techniques he used were consistent with DPD’s use of force training and reasonable
    based on his perception of the facts and circumstances known at the time, and (9) the
    factual bases for his entitlement to the defense of qualified immunity.

    Dillard will testify that on August 10, 2016, at approximately 10:30 p.m., he along with
    his partner that night, Officer Danny Vasquez (Vasquez), responded to a 911 call
    concerning a man, later identified as Anthony Timpa, causing a disturbance on West
    Mockingbird Lane. Comments on the call sheet indicated that Timpa had self-reported
    that he was schizophrenic and off his medication. DF-R paramedics Burnley, Flores, and
    Sgt. Kevin Mansell were on the scene when Dillard and Vasquez arrived. The paramedics
    were unable to take Timpa’s vital signs or provide him with medical treatment because
    Timpa was behaving erratically and would not calm down. Dillard observed Timpa lying
    on the ground in handcuffs, close to the edge of the roadway near a bus stop that was a
    few feet from Mockingbird Lane and oncoming traffic and screaming incoherently.
    Timpa suddenly thrashed and attempted to get up from the ground, at which time Dillard
    positioned Timpa face-down on the ground to prevent him from rolling into the street.
    Timpa kicked, yelled, screamed, and struggled to get up for several minutes, preventing

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     the paramedics from rendering him aid. At all times, Dillard monitored Timpa’s
     breathing and attempted to calm him through reassurance. After a short time, a paramedic
     succeeded in taking Timpa’s vital signs. After that, Timpa stopped screaming, appeared
     to relax, and began making a snoring sound. A paramedic injected a sedative in Timpa’s
     shoulder and he appeared to respond but remained calm and still. Dillard attempted to
     awaken Timpa but he was unresponsive. Dillard assisted the paramedics in putting Timpa
     on a gurney and into the ambulance. Once in the ambulance, Dillard assisted in
     performing cardiopulmonary resuscitation (CPR) chest compressions on Timpa.

     Dillard will testify that based on his perception of the facts and circumstances, he
     believed that the technique he used to physically control Timpa was reasonable,
     necessary, and justified to prevent Timpa from harming himself or others and to assist the
     paramedics in rendering him aid. At no time did Dillard perceive that his application of
     force was inappropriate or that he restrained Timpa longer than was necessary or required
     for the paramedics to render aid. At no time did Dillard perceive that his actions in
     restraining Timpa impeded his flow of oxygen or in any way prevented his breathing. At
     no time did Timpa say that he could not breathe nor did Dillard perceive that Timpa
     could not breathe, that he was struggling to breathe, or that he was in medical distress.
     Dillard did not act with malice or evil intent or callous indifference to Timpa’s
     constitutional rights.

5.   Witness:              Raymond Dominguez
     Deposed:              Yes
     Testimony:            Probable
     Direct Examination:   1.5 hours

     Raymond Dominguez (Dominguez) is a named defendant and was, at all relevant times, a
     senior corporal for DPD. He will testify about (1) his training and experience as a
     certified peace officer for the State of Texas and as a Dallas police officer; (2) his
     knowledge of DPD’s general orders directives concerning the use of force and duty to
     intervene in police incidents; (3) his recollection of the events surrounding his encounter
     with Timpa; (4) the facts and information provided to him by DPD personnel and persons
     at or near the scene of the encounter; (5) his observations of Timpa at the scene,
     including his perception of Timpa’s physical appearance, actions, and demeanor; (6) his
     perception of the control techniques Dillard used in response to Timpa’s unlawful
     resistance and noncompliance to the officers’ verbal commands; (7) his knowledge of the
     standards and requirements under the Fourth Amendment to the United States
     Constitution for seizure and use of force; (8) his opinions concerning whether the
     physical control techniques Dillard used were consistent with DPD’s use of force training
     and reasonable based on his perception of the facts and circumstances known at the time,
     and (9) the factual bases for his entitlement to the defense of qualified immunity.

     Dominguez will testify that on August 10, 2016, at approximately 10:30 p.m., he
     responded to a 911 call concerning a man, later identified as Timpa, causing a
     disturbance on West Mockingbird Lane. The DPD dispatcher related that the suspect was
     off his medication. When Dominguez arrived, Dillard, Vasquez, Sgt. Kevin Mansell,
     Officer Domingo Rivera, and DF-R paramedics Burnley and Flores were at the location.

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    Dominguez observed Timpa in handcuffs and lying on the ground, close to the edge of
    the roadway near a bus stop that was a few feet from Mockingbird Lane and oncoming
    traffic and Dillard and Vasquez restraining Timpa. Timpa was yelling, screaming, and
    kicking his feet trying to get up. Dominque retrieved flex cuffs and placed them on
    Timpa’s feet to prevent him from kicking. Timpa yelled, screamed, and struggled to get
    up for several minutes, but a paramedic succeeded in taking his vital signs. Timpa
    stopped screaming and appeared to relax and make what appeared to be a snoring sound.
    Dominguez believed that Timpa had fallen asleep and attempted to awaken him, but
    Timpa was unresponsive. Dominguez assisted the paramedics in putting Timpa on a
    gurney and into the ambulance. Once in the ambulance, Domingue assisted in performing
    CPR chest compressions on Timpa.

    Dominguez will testify that based on his perception of the facts and circumstances, he
    believed that it was reasonable and lawful for Dillard to restrain Timpa by applying
    pressure on Timpa’s upper back and shoulder area to keep him from entering active
    traffic lanes on Mockingbird Lane and to allow the paramedics to render him aid. At no
    time did Dominguez perceive that Dillard’s application of force was excessive to the
    need or objectively unreasonable. At no time did Dominguez perceive that he had a duty
    to intervene or an opportunity to intervene to prevent Timpa from harm. Dominguez did
    not act with malice or evil intent or callous indifference to Timpa’s constitutional rights.

 6. Witness:              James Flores
    Deposed:              Yes
    Testimony:            Probable
    Direct Examination:   .75 hours

    James Flores is a Fire Rescue Officer and paramedic for the Dallas Fire-Rescue
    Department (DF-R). He will provide testimony regarding (1) his training and experience
    as a DF-R paramedic; (2) his encounter with Timpa; (3) his observations of the encounter
    between Timpa and Defendants; and (4) his interactions with DPD and DF-R personnel.

    Flores will testify that on August 10, 2016, he along with Fire Rescue Officer Curtis
    Burnley responded to a medical emergency at 1720 West Mockingbird Lane. Upon
    arrival, Flores observed a combative Timpa in handcuffs, lying on the ground, yelling,
    and screaming incoherently. Flores and Burnley attempted to take Timpa’s vital signs but
    were unable to because of his erratic movements, which included kicking, jerking,
    thrashing, and twisting his body. Dillard gained control of Timpa and restrained him
    face-down, thereby allowing the paramedics to assess his condition and provide Timpa
    with medical treatment. Flores took Timpa’s vital signs and they were within normal
    range. At no time did Flores perceive that Timpa was experiencing excited delirium, a
    decrease in respiratory function, or that he was in medical distress. Timpa yelled,
    screamed, and remained combative for several minutes and then suddenly became still.
    Flores believed that Timpa had tired himself out but then realized that he was
    unconscious and not breathing. Flores and Burnley began CPR chest compressions on
    Timpa with the help of Dillard and Dominguez and transported Timpa to Parkland
    Hospital where he was pronounced deceased shortly after arrival.


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    Flores will testify that he did not observe any police officer use excessive force on
    Timpa. At no time did Timpa say he could not breathe nor did Flores perceive that Timpa
    could not breathe, that he was struggling to breathe, that Timpa was experiencing excited
    delirium, or that he was in a state of medical distress. Based on the facts and
    circumstances known to him, Flores believed it was reasonable for Dallas police officers
    to physically seize Timpa to prevent him from harming himself and others and to allow
    the paramedics to provide him with medical treatment.

 7. Witness:              Sam Hanson
    Deposed:              Yes
    Testimony:            Expert; probable
    Direct Examination:   1.0 hours

    Sam Hanson is a senior corporal in the Dallas Police Department. He will testify about
    his training and experience as a certified peace officer for the State of Texas and as a
    uniformed Dallas police officer; his training and experience as a Crisis Intervention
    Training instructor at the Dallas Police Academy; the use of force and crisis intervention
    training taught by DPD. Hanson will offer the following opinions: that a reasonable
    police officer on the scene could have perceived that Timpa was resisting based on his
    erratic movements, including kicking, jerking, thrashing, and twisting his body; that
    Timpa’s actions created a danger to himself and others; that a reasonable police officer
    facing the same circumstances could have believed that it was reasonable to restrain
    Timpa in a prone position to (1) keep him from endangering him himself and others by
    re-entering the roadway and obstructing traffic, and (2) keep him still to facilitate his
    medical assessment and treatment by the paramedics. Hanson will testify further that a
    reasonable officer under the circumstances could have believed that they should rely on
    and follow a paramedic’s instruction on how to handle a patient, that Dillard did not use
    lethal force, that Dillard’s prone restraint of Timpa was reasonable under the facts and
    circumstances known to him at the time; and that Dillard’s use of force was consistent
    with DPD training on the use of force. Hanson will also provide opinions concerning
    whether the body-worn camera video footage provides evidence that supports the
    conclusion that Timpa’s death was caused by mechanical asphyxia, or that he was unable
    to sufficiently breathe while being restrained by Dillard.

 8. Witness:              Kitrell Heiden
    Deposed:              No
    Testimony:            Possible
    Direct Examination:   .5 hours

    Kitrell Heiden observed Timpa running into traffic on West Mockingbird Lane before
    Defendants arrived. He will testify that on August 10, 2016, he observed two security
    officers chasing Timpa, who was running into traffic on West Mockingbird Lane. The
    security guards apprehended Timpa, placed him in handcuffs, and kept him on the
    ground. DPD and DF-R personnel arrived. DF-R personnel attempted to provide Timpa
    with medical attention, but he continued to behave irrationally. It appeared that Timpa
    tried to get up and run back into traffic when DPD officers took control of him. The
    officers put Timpa on a gurney and into the ambulance. Heiden was walking away from
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         the scene when he heard Mansell react to the news that Timpa was unresponsive.

      9. Witness:               Ewelina Johnson
         Deposed:               No
         Testimony:             Probable
         Direct Examination:    .75 hours

         Fredrick Johnson was with Timpa on the evening of his encounter with Defendants.
         Johnson will testify that he met Timpa for the first time on August 10, 2016, at a Gas
         Pipe store, and began a conversation. Timpa shared with Johnson that he had used heroin,
         methamphetamines, cocaine, and marijuana that night. The men went to the New Fine
         Arts on West Mockingbird Lane, where they rented a room and engaged in sex. Timpa
         began to act strange and called 911. Johnson left to use the restroom. When he returned
         to the room Timpa had barricaded himself inside and would not allow Johnson to enter.
         Johnson went to Timpa’s vehicle to retrieve his personal belongings. Johnson observed
         Timpa run out of New Fine Arts and into traffic on Mockingbird. It appeared that Timpa
         was trying to get struck by a vehicle. Johnson left the area.

      10. Witness:              Fredrick T. Johnson
          Deposed:              No
          Testimony:            Probable
          Direct Examination:   .5 hours

         Fredrick Johnson was with Timpa on the evening of his encounter with Defendants.
         Johnson will testify that he met Timpa for the first time on August 10, 2016, at a Gas
         Pipe store, and began a conversation. Timpa shared with Johnson that he had used heroin,
         methamphetamines, cocaine, and marijuana that night. The men went to the New Fine
         Arts on West Mockingbird Lane, where they rented a room and engaged in sex. Timpa
         began to act strange and called 911. Johnson left to use the restroom. When he returned
         to the room Timpa had barricaded himself inside and would not allow Johnson to enter.
         Johnson went to Timpa’s vehicle to retrieve his personal belongings. Johnson observed
         Timpa run out of New Fine Arts and into traffic on Mockingbird. It appeared that Timpa
         was trying to get struck by a vehicle. Johnson left the area.

11.      Witness:               Glenn Johnson
         Deposed:               No
         Testimony:             Possible
         Direct Examination:    .5 hours

         Glenn Johnson is one of the security guards who restrained Timpa before Defendants
         arrived on the scene. He will testify that on August 10, 2016, he was traveling on West
         Mockingbird Lane when Timpa waved him down and requested help. Johnson stopped to
         assist but Timpa stated that Johnson was not a real cop, that he was trying to kill him, and
         ran into the street. Johnson observed Timpa run a DART bus and try to get on it, and then
         proceed to run in the street. Sammie Washington, a security guard at New Fine Arts, tried
         to assist but Timpa ran away from Johnson and Washington and back into the street.
         Timpa then fell to the ground, at which time Johnson and Washington removed Timpa
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         from the street and placed him in handcuffs. Timpa continued to kick and scream that
         Johnson and Washington were trying to kill him. Timpa continued to push himself into
         the street, and Johnson kept pulling him back into the grass. DPD and DFR personnel
         arrived. Timpa would not allow DF-R paramedics to check him and he remained
         combative, kicking at the officers. Timpa appeared to have tired himself out or fallen
         asleep. DPD and DF-R personnel put him on a gurney and inside the ambulance.

      12. Witness:              Dr. Mark W. Kroll, Ph.D.
          Deposed:              Yes
          Testimony:            Expert; probable
          Direct Examination:   1.5 hours

         Dr. Mark Kroll is a retained expert witness who will provide testimony concerning his
         training and experience as a biomedical engineer. Dr. Kroll will provide expert opinion
         testimony on current knowledge and research regarding positional and mechanical
         asphyxia, the effects of restraint in a prone position, the cause of Mr. Timpa’s death, the
         findings and conclusions of Dr. Emily Ogden, and the findings and conclusions of Dr.
         Kim Collins.

13.      Witness:               Kevin Mansell
         Deposed:               Yes
         Testimony:             Probable
         Direct Examination:    1.5 hours

         Kevin Mansell (Mansell) is a named defendant and was, at all relevant times, a sergeant
         of police for DPD. He will testify about (1) his training and experience as a certified
         peace officer for the State of Texas and as a Dallas police officer; (2) his knowledge of
         DPD’s general orders directives concerning the use of force and duty to intervene in
         police incidents; (3) his recollection of the events surrounding his encounter with Timpa;
         (4) the facts and information provided to him by DPD personnel and persons at or near
         the scene of the encounter; (5) his observations of Timpa at the scene, including his
         perception of Timpa’s physical appearance, actions, and demeanor; (6) his perception of
         the control techniques Dillard used in response to Timpa’s unlawful resistance and
         noncompliance to the officers’ verbal commands; (7) his knowledge of the standards and
         requirements under the Fourth Amendment to the United States Constitution for seizure
         and use of force; (8) his opinions concerning whether the physical control techniques
         Dillard used were consistent with DPD’s use of force training and reasonable based on
         his perception of the facts and circumstances known at the time, and (9) the factual bases
         for his entitlement to the defense of qualified immunity.

         Mansell will testify that on August 10, 2016, at approximately 10:30 p.m., he responded
         to a 911 call concerning a man, later identified as Timpa, causing a disturbance on West
         Mockingbird Lane. The comments on the call sheet indicated that Timpa was
         schizophrenic and off his medication. When Mansell arrived, he saw Timpa on the
         ground in the grassy area between Mockingbird and a bus stop bench and two security
         guards standing near him. Timpa was yelling, screaming, and kicking his feet in the air.
         Timpa rolled toward the street, and Mansell and the security guards moved him back
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     from the roadway. Dillard, Vasquez, Rivera, Dominguez, Burnley, and Flores soon
     arrived at the scene. Timpa again rolled toward Mockingbird, and Dillard and Vasquez
     restrained him to keep him out of the roadway and to facilitate the paramedics’ medical
     assessment of Timpa. Dominguez and Rivera put flex cuffs on Timpa’s ankles to prevent
     him from kicking. The officers applied only the amount of force necessary to gain control
     of Timpa, who was not complying with verbal commands, to prevent him from entering
     the roadway and to allow the paramedics to perform their medical assessment and
     treatment of Timpa. At no time did Timpa say he could not breathe nor did Mansell
     perceive that Timpa could not breathe, that he was struggling to breathe, or that Timpa
     was in medical distress. Mansell briefly stepped away from Dillard and Timpa to call
     Timpa’s family members to obtain information about Timpa’s medical condition and
     medications. When Mansell returned, he learned that Timpa had become still and
     unresponsive.

     Mansell will testify that based on his perception of the facts and circumstances, he
     believed that it was reasonable and lawful for Dillard to restrain Timpa by applying
     pressure on Timpa’s upper back and shoulder area to keep him from entering active
     traffic lanes on Mockingbird Lane and to allow the paramedics to render him aid. At no
     time did Mansell perceive that Dillard’s application of force was excessive to the need or
     objectively unreasonable. At no time did Mansell perceive that he had a duty to intervene
     or an opportunity to intervene to prevent Timpa from harm. Mansell did not act with
     malice or evil intent or callous indifference to Timpa’s constitutional rights.

  14. Witness:              Dr. Jeffrey Metzger
      Deposed:              Yes
      Testimony:            Expert; probable
      Direct Examination:   1.0 hours

     Dr. Jeffrey Metzger is Chief of Emergency Services and Parkland Hospital and former
     Medical Director for the Dallas Police Department. He will testify about his training
     experience and offer the following opinions: (1) the application of force by Dillard to
     physically control Timpa was not unreasonable; (2) Dillard’s use of force was consistent
     with DPD training; (3) a reasonable police officer on the scene could have perceived that
     Timpa was resisting based on his failure to follow the officers’ verbal commands and his
     erratic movements, including kicking, jerking, thrashing, and twisting his body; (4)
     Timpa’s actions created a danger to himself and others; (5) a reasonable police officer
     under the same facts and circumstances could have believed that it was reasonable for
     Dillard to believe that restraining Timpa in a prone position was necessary and justified
     to keep Timpa from re-entering the roadway and obstructing traffic and to assist the
     paramedics in rendering him aid; (6) a reasonable officer under the same facts and
     circumstances could have believed that it was proper to follow the paramedic’s
     instructions on how to handle a patient on the scene; (7) Dillard did not use lethal force;
     and (8) the video evidence of Defendants’ encounter with Timpa does not support the
     conclusion that Timpa died from mechanical asphyxia, or that he was unable to
     sufficiently breathe while Dillard restrained him.



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  15. Witness:              Craig R. Miller
      Deposed:              Yes
      Testimony:            Expert; possible
      Direct Examination:   1.0 hours

     Craig Miller is a retained expert witness who will provide testimony concerning his
     training and experience as a peace officer. He will opine on the following issues: the
     standards and requirements under the Fourth Amendment for detention, arrest, and use of
     force; whether it was reasonable for Defendants to conclude that Timpa was a danger to
     himself and others; whether it was reasonable for Dillard to believe that restraint of
     Timpa was necessary for him to be medically assessed and treated by the paramedics;
     whether the force used by Dillard to restrain Timpa was reasonable under the facts and
     circumstances known to him; whether Dillard’s use of force to restrain Timpa constituted
     deadly force; whether other officers faced with the same or similar circumstances could
     have acted in the same or similar manner as did Dillard in his restraint of Mr. Timpa and
     Vasquez, Dominguez, and Mansell in their response to that use of force; and whether a
     reasonable police officer faced the same or similar circumstances could have believed
     that the actions of Defendants were lawful.

  16. Witness:              Dr. Emily Ogden, M.D.
      Deposed:              Yes
      Testimony:            Expert; probable
      Direct Examination:   1.5 hours

     Dr. Emily Ogden, M.D. is a clinical pathologist who serves on the staff of the Office of
     the Dallas County Medical Examiner. Dr. Ogden will testify that she performed the
     autopsy on Timpa and found no evidence indicating that his death was caused by
     mechanical asphyxia, that he was unable to sufficiently breathe while being restrained by
     Dillard, or evidence that Dillard used significant or substantial weight to restrain Timpa.
     Dr. Ogden will testify further that it was reasonable based on Timpa’s conduct for
     Defendants to perceive that Timpa presented a danger to himself and others; that a
     diagnosis of excited delirium is typically determined after death; and that a reasonable
     police officer would not have known that Timpa was in a state of excited delirium based
     on his behavior at the scene.

  17. Witness:              Dr. Helen Reynolds, Ph.D.
      Deposed:              No
      Testimony:            Expert; probable
      Direct Examination:   1.0 hours

     Dr. Helen Reynolds is a retained expert witness who is an economic consultant. She will
     offer expert opinion testimony concerning the conclusions presented in the report
     authored by the Plaintiffs’ economic damages expert(s); all categories and amounts of
     economic damages alleged by the Plaintiffs, including actual damages, medical damages,
     loss of wages, economic damages based on pain and suffering and mental anguish, and
     economic damages based on an alleged loss of quality of life; and the value and
     computation of damages based on household service.
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18.   Witness:              Domingo Rivera
      Deposed:              Yes
      Testimony:            Probable
      Direct Examination:   .5 hours

      Domingo Rivera is a Dallas police officer who responded to the scene. He will testify
      about (1) his training and experience as a certified peace officer for the State of Texas
      and as a Dallas police officer; (2) his recollection of the events surrounding his encounter
      with Timpa; (3) his observations of Timpa at the scene, including his perception of
      Timpa’s physical appearance, actions, and demeanor; and (4) his perception of the
      control techniques the officers used in response to Timpa’s unlawful resistance and
      noncompliance to the officers’ verbal commands, whether they were consistent with
      DPD’s use of force training, and whether they were reasonable based on his perception of
      the facts and circumstances known at the time.

      Rivera will testify that on August 10, 2016, at approximately 10:30 p.m., he responded to
      a 911 call concerning Timpa causing a disturbance on West Mockingbird Lane. Rivera
      observed Timpa in handcuffs and lying on the ground, close to the edge of the roadway
      near a bus stop that was a few feet from Mockingbird Lane and oncoming traffic and
      Dillard and Vasquez restraining Timpa. Timpa was yelling, screaming, and kicking his
      feet trying to get up. Rivera and Dominguez put flex cuffs on Timpa’s ankles to prevent
      him from kicking. Rivera then left to find Timpa’s vehicle to try and find information
      about his medical condition and medications. At no time did Rivera hear Timpa say he
      could not breathe, nor did Rivera perceive that Timpa could not breathe, that he was
      struggling to breathe, or that Timpa was in medical distress.

      Rivera will testify that based on his perception of the facts and circumstances, he
      believed that it was reasonable and lawful for Dillard to restrain Timpa by applying
      pressure on Timpa’s upper back and shoulder area to keep him from entering active
      traffic lanes on Mockingbird Lane and to allow the paramedics to render him aid. At no
      time did Rivera perceive that Dillard’s application of force was excessive to the need or
      objectively unreasonable. At no time did Rivera perceive that Dominguez, Mansell, and
      Vasquez had a duty to intervene or an opportunity to intervene to prevent Timpa from
      harm.

19.   Witness:              Danny Vasquez
      Deposed:              Yes
      Testimony:            Probable
      Direct Examination:   1.5 hours

      Danny Vasquez is a named defendant and was, at all relevant times, a Dallas police
      officer. He will testify about (1) his training and experience as a certified peace officer
      for the State of Texas and as a Dallas police officer; (2) his knowledge of DPD’s general
      orders directives concerning the use of force and duty to intervene in police incidents; (3)
      his recollection of the events surrounding his encounter with Timpa; (4) the facts and
      information provided to him by DPD personnel and persons at or near the scene of the
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     encounter; (5) his observations of Timpa at the scene, including his perception of
     Timpa’s physical appearance, actions, and demeanor; (6) his perception of the control
     techniques Dillard used in response to Timpa’s unlawful resistance and noncompliance to
     the officers’ verbal commands; (7) his knowledge of the standards and requirements
     under the Fourth Amendment to the United States Constitution for seizure and use of
     force; (8) his opinions concerning whether the physical control techniques Dillard used
     were consistent with DPD’s use of force training and reasonable based on his perception
     of the facts and circumstances known at the time, and (9) the factual bases for his
     entitlement to the defense of qualified immunity.

     Vasquez will testify that on August 10, 2016, at approximately 10:30 p.m., he along with
     Dillard responded to a 911 call concerning Timpa, causing a disturbance on West
     Mockingbird Lane. Comments on the call sheet indicated that Timpa had self-reported
     that he was schizophrenic and off his medication. DF-R paramedics Burnley, Flores, and
     Sgt. Kevin Mansell were on the scene when Vasquez and Dillard arrived. The paramedics
     were unable to take Timpa’s vital signs or provide him with medical treatment because
     Timpa was behaving erratically and would not calm down. Vasquez observed Timpa
     lying on the ground in handcuffs, close to the edge of the roadway near a bus stop that
     was a few feet from Mockingbird Lane and oncoming traffic and screaming incoherently.
     Timpa suddenly thrashed and attempted to get up from the ground, at which time Dillard
     positioned Timpa face-down on the ground to prevent him from rolling into the street.
     Timpa kicked, yelled, screamed, and struggled to get up for several minutes, preventing
     the paramedics from rendering him aid. Vasquez switched out the handcuffs, while
     Dillard monitored Timpa’s breathing and attempted to calm him through reassurance.
     After a short time, a paramedic succeeded in taking Timpa’s vital signs. At no time did
     Timpa say he could not breathe, nor did Rivera perceive that Timpa could not breathe,
     that he was struggling to breathe, or that Timpa was in medical distress. Timpa stopped
     screaming, appeared to relax, and began making a snoring sound. A paramedic injected a
     sedative in Timpa’s shoulder, and he appeared to respond but remained calm and still.
     The officers attempted to awaken Timpa, but he was unresponsive. Vasquez assisted the
     paramedics in putting Timpa on a gurney and into the ambulance.

     Vasquez will testify that based on his perception of the facts and circumstances, he
     believed that it was reasonable and lawful for Dillard to restrain Timpa by applying
     pressure on Timpa’s upper back and shoulder area to keep him from entering active
     traffic lanes on Mockingbird Lane and to allow the paramedics to render him aid. At no
     time did Vasquez perceive that Dillard’s application of force was excessive to the need or
     objectively unreasonable. At no time did Vasquez perceive that he had a duty to intervene
     or an opportunity to intervene to prevent Timpa from harm. Vasquez did not act with
     malice or evil intent or callous indifference to Timpa’s constitutional rights.




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20.   Witness:               Sammie Washington
      Deposed:               No
      Testimony:             Possible
      Direct Examination:    .5 hours

      Sammie Washington, at all relevant times, was a security guard at Terron Security
      Company was assigned to the New Fine Arts business on West Mockingbird Lane. He
      will testify that on August 10, 2016, the manager alerted him of a disturbance at the
      location involving Anthony Timpa and another male. Washington observed Timpa run
      away from the building, into traffic on Mockingbird Lane and attempt to climb on a
      DART bus. He observed DPD officers arrive and attempt to control Timpa. He did not
      observe any Dallas police officers use inappropriate force against Timpa or perceive that
      the force used to restrain Timpa was excessive to the need or unreasonable based on the
      facts and circumstances known to him at the time.

21.   Witness:               Custodian of Records, Dallas Fire-Rescue Department
      Deposed:               No
      Testimony:             Possible
      Direct Examination:    .25 hours

      If necessary, a custodian of records will be called to authenticate exhibits in the custody
      of the Dallas Fire-Rescue Department.

22.   Witness:               Custodian of Records, Dallas Police Department
      Deposed:               No
      Testimony:             Possible
      Direct Examination:    .25 hours

      If necessary, a custodian of records will be called to authenticate exhibits in the custody
      of the Dallas Police Department.




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